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                   IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

In Re:                                         )       Case No.: 19-26265
         Candelario Pena and Erika R Pena      )
                                               )       Chapter 13
                                               )
                        Debtor(s)              )       Judge Janet S. Baer (KANE)


                                        NOTICE OF MOTION

TO:      Candelario Pena and Erika R Pena, 262 Windsor Ct, Unit A South Elgin, IL 60177
         via US mail
         Trustee Glenn B Stearns, 801 Warrenville Road Suite 650 Lisle, IL 60532 via ECF
         clerk’s electronic delivery system
         U.S. Trustee, 219 S. Dearborn Suite 873, Chicago, IL 60604 via ECF clerk’s electronic
         delivery system
         See attached service list

        PLEASE TAKE NOTICE that on October 11, 2019 at 9:30 AM I shall appear before the
Honorable Janet S. Baer at the Kane County Courthouse 100 S. Third Street, Room 240
Geneva, IL 60134 or any Judge presiding and then and there present the Motion, a copy of which
is attached hereto.

                                                       By:    /s/ David H. Cutler
                                                              David H. Cutler
                                                              Counsel for Debtor(s)
                                                              Cutler & Associates, Ltd.
                                                              4131 Main St,
                                                              Skokie, IL 60076
                                                              Phone: (847) 673-8600



                                     CERTIFICATE OF SERVICE

        I, David H. Cutler, hereby certify that I caused to be served, electronically or through U.S.
Mail, a copy of the foregoing Notice and Motion upon the parties named above on October 4, 2019
before the hour of 6:00 p.m.

                                                       By:    /s/ David H. Cutler
                                                              David H. Cutler, esq.,

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In Re:                                          )       Case No.: 19-26265
         Candelario Pena and Erika R Pena       )
                                                )       Chapter 13
                                                )
                        Debtor(s)               )       Judge Janet S. Baer (KANE)


                MOTION TO EXTEND STAY THE AUTOMATIC STAY

NOW COME the Debtors, Candelario Pena and Erika R Pena, by and through their attorneys, the

law office of CUTLER & ASSOCIATES, LTD., and in support of their Motion, state as follows:

         1)    This Court has jurisdiction over this proceeding pursuant to 28 USC 1334 and this is

               a “core proceeding” under 28 USC 157(b)(2).

         2)    The Debtors filed for relief under Chapter 13 of the United States Bankruptcy Code

               on September 17, 2019.

         3)    The Debtors proposed a plan that will repay 10% to their general unsecured creditors

               with a payment of $253.00 per month for 60 months.

         4)    The Debtors had a prior Chapter 13 case that was dismissed on August 2, 2019 case

               number: 18-22162, within a year of filing, due to the Trustee’s motion to dismiss for

               failure to make plan payments.

         5)    In the prior case, Debtors were paying their vehicle inside of the plan and they could

               not afford the high plan payment and their living expenses.

         6)    In the instant case, Debtors are surrendering their vehicle as such their plan payment

               is lower allowing them to afford their plan payments and living expenses.

         7)    In the instant case, Debtors have had a positive change in circumstances, they have

               budgeted their income and expenses and they are surrendering their vehicle which

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             has significantly decreased their plan payment as such they can afford to make their

             monthly bankruptcy plan payments in a feasible chapter 13 plan.

       8)   Debtors have provided this Honorable Court with an affidavit of change and income

            and expense schedules, see the attached affidavit and schedules I and J from their

            previous Chapter 13 Bankruptcy case, and the schedules I and J from their current

            Chapter 13 Bankruptcy case. See Affidavit and Exhibits A and B respectively.

WHEREFORE, the Debtors pray that this Court enter an Order Extending the Automatic Stay, and

for such further relief that this Court may deem just and proper.


Dated: 10/4/19                                       Respectfully Submitted,

                                                     By:     /s/ David H. Cutler
                                                             David H. Cutler, esq.,
                                                             Counsel for Debtor(s)
                                                             Cutler & Associates, Ltd.
                                                             4131 Main St,
                                                             Skokie, IL 60076
                                                             Phone: (847) 673-8600




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